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UNITED STATES DisTRICT COURT
SOUTHERN DISTRICT OF TEXAS
FILED

UNITED STATES DISTRICT COURT FOR THE APR 27 2021
SOUTHERN DISTRICT OF TEXAS

BROWNSVILLE DIVISION
NATHAN OCHSNER

CLERK OF COURT

UNITED STATES OF AMERICA §
VS. § CRIMINAL NO. B-19-673
ROEL ALANIS §
PLEA AGREEMENT

| The United States of America, by and through its attorneys JENNIFER B.
LOWERY, Acting United States Attorney for the Southern District of Texas, and the
undersigned Assistant United States Attorney, and the defendant, ROEL ALANIS, and
the defendant's counsel, pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal
Procedure, state that they have entered into an agreement, the terms and conditions of
which are as follows:

1. The defendant agrees to plead guilty to Counts ONE and TWO of the indictment
in this case. Count ONE of the indictment charges the defendant with CONSPIRACY TO
COMMIT BRIBERY OF A PUBLIC OFFICIAL, in violation of Title 18, United States Code,
§371, Count TWO of the indictment charges the defendant with BRIBERY OF A PUBLIC
OFFICIAL, in violation of Title 18, United States Code, §201(b)(1)(C), and Title 18, United
States Code, § 2. The defendant, by entering this plea, agrees that he is waiving any
right to have the facts that the law makes essential to the ounishment either charged in
the indictment, or proved to a jury or proven beyond a reasonable doubt.

2. As part of this agreement, the United States agrees to recommend full credit

for Acceptance of Responsibility, sentencing at the low end of the advisory quideline level

ithe defendant scores, and a limit to 4 points under U.S.S.G. 2B1.1 with defendant to urge

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a 2-point limit. Additionally, counts to run concurrent and remaining counts will be
dismissed at time of sentencing.

3. The penalty for a violation of Title 18, United States Code, Section 371, is a
maximum term of imprisonment of 5 years, a fine of up to $250,000.00, and a period of
supervised release not to exceed _3 years. The penalty for a violation of Title 18, United
States Code, Section 201(b)(1 )(C), is a maximum term of imprisonment of 15. years, a
fine of up to $250,000.00, and a period of supervised release not to exceed 5 years. The
defendant also acknowledges and understands that if he should violate the conditions of
any period of supervised release which may be imposed as part of his sentence, then the
Defendant may be imprisoned for the entire term of supervised release without credit for
time already served on the term of supervised release prior to such violation. The
defendant is not eligible for parole for any sentence imposed. |

4. The defendant will pay to the United States District Clerk a special assessment
in the-amount of one-hundred dollars ($100.00) per count of conviction, as required in
Title 18, United States Code, Section 3013(a)(2)(A). The payment will be by certified
check payable to United States District Clerk, Brownsville, Texas 78520,

-5. The defendant understands that under the Sentencing Guidelines, the Court is
permitted to order the defendant to pay a fine that is sufficient to reimburse the
government for the costs of any imprisonment or term of supervised release, if any is
ordered.

6. The defendant agrees that any fine or restitution imposed by the Court will be

due and payable immediately, and defendant will not attempt to avoid or delay payment.

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7. Defendant agrees to make complete financial disclosure by truthfully executing
a sworn financial statement (Form OBD-500) prior to sentencing if he is requested to do
So. In the event that the Court imposes a fine or orders the payment of restitution as part
of the Defendant's sentence, the Defendant shall make complete financial disclosure by
truthfully executing a sworn financial statement immediately following his sentencing.

. 8. Defendant recognizes that pleading guilty may have consequences with respect
to his immigration status if he is not a citizen of the United States, Defendant understands
that if he is not a citizen of the United States, by pleading guilty he may be removed from
the United States, denied citizenship, and denied admission to the United States in the
future. Defendant also recognizes that if he is a naturalized citizen, pleading guilty may
result in loss of citizenship. Defendant's attorney has advised defendant of the potential
immigration and/or denaturalization (loss of citizenship) consequences resulting from

defendant's plea of guilty.

 

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knowingly and voluntarily waives the right to appeal the conviction and the sentence
imposed, or the manner in which the sentence was determined. Additionally, the
defendant is aware that Title 28, United States Code, § 2255, affords the right fo contest
or “collaterally attack” a conviction or sentence after the conviction or sentence has
become final. The defendant knowingly and voluntarily waives the right to contest his/her
conviction or sentence by means of any post-conviction proceeding. If the defendant files
a notice of appeal following the imposition of sentence, the government will seek specific
performance of this provision. Nothing in the foregoing waiver of appellate and collateral
review of rights shall preclude the defendant from raising a claim of ineffective assistance
of counsel in an appropriate forum.

In exchange for the Agreement with the United States, Defendant waives all
defenses based on venue, speedy trial under the Constitution and Speedy Trial Act, and
the statute of limitations with respect to any prosecution that is not time barred on the
date that this Agreement is signed, in the event that (a) Defendant's conviction is later
vacated for any reason, (b) Defendant violates any provision of this Agreement, or (c)
Defendant's plea is later withdrawn.

12. In agreeing to these waivers, defendant is aware that a sentence has not
yet been determined by the Court. The defendant is also aware that any estimate of the
possible sentencing range under the sentencing guidelines that he/she may have
received from his/her counsel, the United States or the Probation Office, is a prediction,
not a promise, did not induce his/her guilty plea, and is not binding on the United States,
the Probation Office or the Court. The United States does not make any promise or

representation concerning what sentence the defendant will receive. Defendant further
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understands and agrees that the United States Sentencing Guidelines are “effectively
advisory” to the Court. United States v. Booker, 125 S.Ct. 738 (2005). Accordingly,
Defendant understands that, although the Court must consult the Sentencing Guidelines
and must take them into account when sentencing Defendant, the Court is not bound to
follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline
range.

13. The Defendant understands and agrees that each and all waivers contained
in the Agreement are made in exchange for the concessions made by the United States
in paragraph 2 of this plea agreement.

14. The United States reserves the right to carry out its responsibilities under
guidelines sentencing. Specifically, the United States reserves the right:

(a) _ to bring its version of the facts of this case, including its evidence file and

any investigative files, to the attention of the Probation Office in connection
with that office’s preparation of a presentence report;

‘(b) to set forth or dispute sentencing factors or facts material to sentencing;

(c) to seek resolution of such factors or facts in conference with defendant's
counsel and the Probation Office; and,

(d) to file a pleading relating to these issues, in accordance with U.S.S.G.
Section 6A1.2 and Title 18, U.S.C.§ 3553(a).

15. Defendant is aware that the sentence will be imposed after consideration of
the United States Sentencing Guidelines and Policy Statements, which are only advisory,
as well as the provisions of Title 18, U.S.C. § 3553(a). Defendant nonetheless
acknowledges and agrees that the Court has authority to impose any sentence up to and
including the statutory maximum set for the offense(s) to which Defendant pleads guilty,

and that the sentence to be imposed is within the sole discretion of the sentencing judge
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after the Court has consulted the applicable Sentencing Guidelines. Defendant .
understands and agrees the parties’ positions regarding the application of the Sentencing
Guidelines do not bind the Court and that the sentence imposed is within the discretion
of the sentencing judge. If the Court should impose any sentence up to the maximum
established by statute, or should the Court order any or all of the sentences imposed to
run consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea, and
will remain bound to fulfill all of the obligations under this plea agreement.

16. Defendant understands that by entering into this agreement, he/she
surrenders certain rights as provided in this plea agreement. Defendant understands that
the rights of a defendant include the following:

(a) If defendant persisted in a plea of not guilty to the charges, defendant would
have the right to a speedy jury trial with the assistance of counsel. The trial
may be conducted by a judge sitting without a jury if the defendant, the
United States, and the court all agree.

(b) Ata trial, the United States would be required to present witnesses and
other evidence against the defendant. Defendant would have the
opportunity to confront those witnesses and his/her attorney would be
aliowed to cross-examine them. In turn, the defendant could, but would not
be required to present witnesses and other evidence on his/her own behalf.
If the witnesses for defendant would not appear voluntarily, he/she could
require their attendance through the subpoena power of the court.

_(c) Ata trial, defendant could rely on a privilege against self-incrimination and
decline to testify, and no inference of guilt could be drawn from such refusal
' to testify. However, if the defendant desired to do so, he/she could testify

on his/her own behalf.

17. If defendant should fail in any way to fulfill completely all of the obligations
under this plea agreement, the United States will be released from its obligations under

the plea agreement, and the defendant's plea and sentence will stand. If at any time

defendant retains, conceals or disposes of assets in violation of this plea agreement, or
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if defendant knowingly withholds evidence or is otherwise not completely truthful with the
United States, then may move the Court to set aside the guilty plea and reinstate
prosecution. Any information and documents that have been disclosed by defendant,
whether prior to or subsequent to this plea agreement, and all leads derived therefrom,
will be used against defendant in any prosecution.

18. This written plea agreement, consisting of nine pages, including the
attached certifications of defendant and his/her attorney, constitutes the complete plea
agreement between the United States, defendant and his/her counsel. No promises or
representations have been made by the United States except as set forth in writing in this
plea agreement. Defendant acknowledges that no threats have been made against
him/her and that he/she is pleading guilty freely and voluntarily because he/she is guilty.

19. Any modification of this plea agreement must be in writing and signed by all

FUL:

Defendant

parties.

 

APPROVED:

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Assista Li S, Attorney

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CERTIFICATION BY THE DEFENDANT
| have consulted with my counsel and fully understand all my rights with respect to
the charge(s) pending against me. Further, | have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines and
Policy Statements which may apply in my case. | have read this plea agreement and
carefully reviewed every part of it with my attorney. | understand this agreement and |

voluntarily agree to it.

FIL: 0 Vib [zor /

Defendant Date

 

CERTIFICATION BY ATTORNEY
.! have fully explained to the defendant, his rights with respect to the pending
indictment/information. Further, | have reviewed the provisions of the Sentencing
Guidelines and Policy Statements and | have fully explained to the defendant the
provisions of those Guidelines which may apply in this case. | have carefully reviewed
every part of this plea agreement with the defendant. To my knowledge, the defendant's

decisjgn to enter into this agreement is an informed and voluntary one.

4. U Nel

ounsel for Defendant Date

   

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PLEA PACKET MEMO
DEFENDANT: ROEL ALANIS CASE #:  B-19-673

RECOMMENDATION for Defendant's plea to COUNTS ONE and TWO, and WAIVER

of certain APPELLATE RIGHTS: Acceptance of Responsibility, Low End_of

Advisory Guidelines, and a limit to 4 points under U. .5.9.G, 2B1.1 with defendant to
urge a 2-point limit. Additionally, counts to run | concurrent and dismissal of

' Remaining Counts at time of sentencing.

FACT SUMMARY SHEET

On January 9, 2019, Immigration and Customs Enforcement (ICE) agents
commenced a bribery investigation after receiving information that detention facility
employees Exy Adelaida Gomez, Benito Barrientez, and others, were involved in a
scheme obtaining and selling Immigration “Alien Detainee Roster Lists” of detainees
housed at a detention facility to a private attorney for compensation.

Agents determined that “Alien Detainee Roster Lists” (Detainee Rosters) contain
names, dates of birth, country of origin, and “A numbers” of allen detainees, as well as
housing assignments. Delainee Rosters are law enforcement sensitive and are for official
use only, intended to be utilized in practice and usage by facility employees in the course
of their official duties. Removal of Detainee Rosters from ICE detention facilities is strictly
prohibited, and employees are under a duty to safe-guard such lists.

ICE agents contacted Gomez, a Detention Officer employed by Management and
Training Corporation (MTC) and assigned to the El Valle Detention Center (EVDC), an
immigration detention facility located in Raymondville, Texas. MTC operates under
contract with Immigration and Customs Enforcement (ICE) to detain allen immigrants
awaiting disposition of immigration cases and/or removal from the United States. Gomez
said she is assigned to the front central position overseeing logging visitors and unlocking
doors to allow entry. Gomez stated that on January 4, 2019, she began communicating
with Benito Barrientez who asked her to obtain “Alien Detainee Roster Lists” (Detainee
Rosters) from EVDC Raymondville because he recently loss his direct access to such
lists, and that he would provide the lists to ROEL ALANIS, a private attorney. Gomez
added that Barrientez said he and Damian Ortiz had been receiving money from Alanis
in exchange for the lists. Gomez said Barrientez initially offered her $300, but then $500;
for $500, she provided the roster. Gomez said she had the bribe money at her residence;
agents then went to her residence and seized the $500.

January 9, 2019 Incident (Count 2)-

On January 9", Barrientez told Gomez he had discussed the matter with Ortiz and
they were willing to pay her $500 for the list since she was “the one doing the job;" Gomez
agreed. While at work as a detention officer at EVDC, Gomez obtained a copy of the

 
 

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‘ Detainee Roster, hid it in her purse, and took it out of the detention facility unnoticed. On
this same day after work, Gomez met with Barrientez in Harlingen, Texas, where she
provided the Detainee Roster to Barrientez and he gave her $500.

Agents later learned Barrientez provided the Detainee Roster to Ortiz who, as per
instructions from ALANIS, provided it to an associate of ALANIS.

Continuing Investigation by ICE agents-

On this same date, Gomez agreed to cooperate with agents and contacted
Barrientez. In a recorded call, Gomez informed Barrientez she had obtained a Detainee
Roster from the Port Isabel Detention Center (PIDC) and was willing to provide it for $700.
Barrientez said he was interested in the list but needed to speak with Damian Ortiz, but
then agreed to meet with her later that evening. PIDC is an immigration detention facility
operated by ICE and located in Los Fresnos, Texas. There, alien immigrants are detained
while awaiting disposition of their immigration cases and/or removal from the United

States.

Gomez met with Barrientez at a parking lot in Harlingen, Texas. Agents observed
as Barrientez arrived and walked over to Gomez’ vehicle. There he received the PIDC
Detainee Roster and handed Gomez the money. Agents then detained Barrientez and
recovered the roster from his possession and the money given to Gomez.

ICE agents then questioned Barrientez who stated he is a Classification Clerk
employed by Management and Training Corporation (MTC) and assigned to the Willacy
County. Regional Detention Center (WCRDC) located in Raymondville, Texas. (Under
contract with MTC, WCRDC houses federal inmates detained by ICE and by the United
States Marshal's Service.) Barrientez stated he previously had access to WDORDC and
EVDC detainee rosters but recently lost that access, therefore, Ortiz told him to reach out
to others who might be able to obtain said rosters. He recruited Gomez for the task.
Barrientez added that earlier in the evening, he had met with Gomez at a parking lot In
Harlingen and gave her $500 in return for an EVDC Detainee Roster. Barrientez said he
then gave the roster to Ortiz who was to give it to ROEL ALANIS, a private attorney. He
added that he told Gomez he wanted her to provide rosters from PIDC, a much larger
facility. Barrientez said he knew the rosters are sensitive classified documents not for
public disclosure, and that he and Ortiz had been providing rosters to ALANIS about twice
a month since February 2018, these were provided in different places such as tennis
courts or restaurant parking lots in Willacy or Cameron County. Barrientez then also
cooperated with agents in the investigation.

- January 10, 2019 Incident-

In a recorded call, Barrientez informed Ortiz he had obtained a “receipt” for delivery
from the Port Isabel Detention Center (PIDC) and was willing to provide it for payment.
“Receipt” was the code word they used when referring to Detainee Rosters. Ortiz agreed
to meet Barrientez at a Whataburger parking lot in Raymondville, Texas. On January 10,
2019, ICE agents observed as Ortiz arrived and entered Barrientez’ vehicle. Ortiz

 
 

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received the PIDC Detainee Roster and handed Barrientez $400. Agents then detained
Ortiz and recovered the roster from his possession; and the money from Barrientez.

ICE agents questioned Ortiz who stated he is a Senior Program Director employed
by Management and Training Corporation (MTG) and assigned to the WCRDC located in
Raymondville, Texas. Ortiz stated that Alanis was interested in ICE detainees housed at
EDVC to secure them as clients; therefore, he (Ortiz) recruited Barrientos, who worked in
the “classification department” and had access to the Detainee Rosters. He said the
rosters: are sensitive classified documents not to be disclosed to the public. Ortiz said the
previous night he had spoken to ALANIS who told him he (ALANIS) would pay $1,000 for
the PIDC roster which he just picked up from Barrientez. Furthermore, that on the
previous night (January 9", Count Two), he obtained a Detainee Roster from Barrientez
and paid $750 for it, and he then gave the list to ALANIS’ associate as per instructions
from ALANIS, Ortiz added that ALANIS is a friend since high school and on or about July
2018, ALANIS asked him to obtain rosters; and he (Ortiz) did so at different locations to
include Willacy, Cameron, and Hidalgo Counties.

Continuing Investigation as to ALANIS:

During the course of the investigation, ALANIS communicated by phone with
cooperating defendants, and later, with HSI-OPR Harlingen undercover agents regarding
monetary payments in exchange for Detainee Rosters. Between January 10" and
January 14", 2019, Ortiz communicated with ALANIS via text messaging regarding a
PIDC detainee roster. ALANIS stated in text messages that he was interested in obtaining
the roster and said he would pay Ortiz $1000 in exchange.

January 10, 2019 Incident-

On January 14, 2019, ALANIS instructed Ortiz, via text, to meet in Weslaco, Texas,
to conduct the exchange. Agents observed as Ortiz met with ALANIS at his residence in
Weslaco. During the meeting, ALANIS took possession of a PIDC Detainee Roster and
paid Ortiz $1,000.

On January 22, 2019, Ortiz again communicated with ALANIS via text messaging
regarding a roster containing information of ICE detainees housed at EVDC. ALANIS
stated in text messages that he was interested in obtaining the Detainee Roster and said
he would pay for said roster. On this same day, Ortiz delivered an EVDC Detainee Roster
to the ALANIS Law Firm in Weslaco. Later this same day, ALANIS communicated with
Ortiz and instructed him to meet at a restaurant in Weslaco to discuss the exchange.
Agents monitored the meeting. ALANIS discussed the Detainee Roster, and informed
that monetary payment would be delivered later to Ortiz by ALANIS' associate. Later this
same day, ALANIS text messaged Ortiz to inform that the payment would be delivered to
his mailbox located in Weslaco, Texas, later that night. The following morning, agents
retrieved a package containing $500 which Ortiz found in his mailbox.

 
 

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On January 31, 2019, ALANIS informed Ortiz he had dropped off an advance
payment for the next roster, and the money was under a flower pot at Ortiz’ house. Agents
retrieved $670 from under the flower pot at Ortiz’ house.

Undercover Operation by HSI-OPR Agents:

On February 6, 2019, ALANIS communicated, via text, directly with an undercover
HSI agent posing as Barrientez to coordinate a meeting with another supposed crooked
detention officer to exchange a PIDC roster for payment. On this day, ALANIS also
communicated with a second undercover HS! agent, posing as a detention officer from
PIDC, and informed him a money payment was inside a wooden shed for sale at the
Home Depot parking lot in Harlingen, Texas. ALANIS instructed the undercover agent to
pick up the money and leave the PIDC Detainee Roster inside the shed. The undercover
agent did as instructed and retrieved the $600 from inside the shed. Within minutes, a
truck pulled up to the shed and a person retrieved the roster. Agents followed the truck to
a house near ALANIS’ residence in Weslaco. The truck is registered to ALANIS’ friend.

Additional Investigation and Statements-

ICE agents obtained information from ALANIS’ cell phone showing text messages
between him, his associates, and Ortiz, discussing the Detainee Rosters and payments,
and photos of several rosters delivered before the investigation began. Agents were able
to locate photos of Detainee Rosters which ALANIS sent to his sister on August 21 and
September 12, of 2018. Text messages from the days before and after, accompanying
the photos, revealed their discussions.

Also, during later questioning of Barrientez, he said he began supplying the rosters
to Ortiz and ALANIS in about mid-2017 after Ortiz proposed this to him as a way to make
money from ALANIS, and eventually they were paid $500 per list which they divided.
After stopping for a few months, he then continued in February 2018 to supply the rosters
to Ortiz, and on some occasions to others associated with ALANIS. He estimated

providing about 15 to 20 rosters.

Ortiz stated that between about August 2018 and January 2019, he delivered
about 30 to 40 rosters to ALANIS or his associates. In return, he was paid $500 per roster
which he split with Barrientez.

Conclusion:

Defendant ALANIS admits he was involved in a conspiracy to bribe, directly and
indirectly (and by aiding and abetting) to corruptly give, and offer to give, money to public
Officials, to induce them to do acts in violation of official duty. ALANIS admits he was
provided with Immigration Detainee Rosters containing law enforcement sensitive data
such as names, dates of birth, country of origin, and “A numbers” of alien detainees, as
well as housing assignments.

 
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| agree the factual summary accurately represents my involvement in the crime to
which | am pleading guilty and that the proposed plea agreement describes my. plea
agreement with the government. A complete written plea agreement may be attached.

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—_ for Defendant

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Assistant United States Attorney 7

 

 

 

 

 

 

 
